


  Peckham, J.
 

  We think that the defendant has by its exceptions duly raised the question argued before us. We are also of the opinion that the plaintiff’s lot is bounded by the exterior line of the street in question, and that he has no title to the land to the center of the street subject to the public easement. The courts below held that the occupation and appropriation by defendant of a part of the plaintiff’s easement in Franklin street is and always has been unlawful. To that conclusion the defendant excepted.
 

  It admits that plaintiff had an easement in that street, but it denies that it has occupied or appropriated it
 

  Whether it has taken any portion of the plaintiff’s easement in the street in question is what the defendant asks shall be decided by us, and it denies
  
   in toto
  
  any taking whatever of the plaintiff’s property or any portion thereof.
 

  For many years prior to the decision of the case of
  
   Story
  
  v.
  
   The New York Elevated R. R. Co.,
  
  90 N. Y., 122, I think the law was that a duly incorporated railroad company, having authority from the state to build its road and laying its tracks and operating its road through and upon the surface of the streets of a city under the proteeticu of a license from such city, took thereby no portion of the property of an individual who owned land adjoining the street, but bounded by its exterior line. The company was, therefore, not liable to such an owner for any consequential damages to his adjoining property arising from a reasonable use of the street for railroad purposes, not exclusive in its nature and substantially upon the same grade as the street itself, and leaving the passage across and through the street free and unobstructed for the public use.
 

  The first case in this state upon that subject, and decided more than forty years ago, is that of
  
   Drake
  
  v.
  
   The Hudson River Railroad Co.,
  
  7 Barb., 508. This was a case decided by the general term of the supreme court sitting in the city of New York, and composed of three most able and learned judges, and I do not find that the principle involved in that decision has been reversed or overruled by any judgment of this court That case holds the doctrine which I have above stated. It was elaborately argued on both sides by counsel as eminent at the bar as the state
   
   *830
   
  afforded, and the opinions of the learned judges are conclusive proof of the ability with which the case was considered by them.
 

  In
  
   Williams
  
  v.
  
   New York Central R. R. Co.,
  
  16 N. Y., 97, it was held that the dedication of land to the use of the public for a highway is not a dedication of it to the use of a railroad, and such a road cannot be built upon it without compensation to the owner of the fee. It was in that case held to be another and an additional burden upon the land if used for railroad purposes, not covered by the dedication for ordinary street purposes, and hence the owner of the fee was entitled to a compensation for an additional burden to which he had never dedicated his property. It was not a mere additional use of an easement, but it was an actual taking of the land for railroad purposes, though not absolutely exclusive, and hence the owner was protected by the constitution from such a taking without a compensation. The
  
   Dralce
  
  case was alluded to, but only for the purpose of pointing out the clear distinction between the two cases, and the court said the
  
   Drake
  
  case involved simply the right of an adjoining owner on the street, who did not own the fee, to recover for incidental damages unavoidably resulting from the construction of the railroad in the street under authority of the law and with the permission of the city authorities, where no land or easement of the adjoining owner was taken. It was also stated that the
  
   Dr alce
  
  case might be considered as settling the question that a railroad in a populous town is not a nuisance
  
   per se
  
  (of course when legally authorized), and that when the company has acquired the title to the land upon which its road is located, such company is not liable, unless guilty of some misconduct, for consequential damages resulting from the operation and use of its road. It has been regarded as having such title so far as the adjoining owner is concerned, who has no fee in the street, when by authority of law and the consent of the city owning the street its rails are therein laid upon the surface and the use of the street for ordinary street purposes is not thereby prevented.
 

  In
  
   Wager
  
  v.
  
   Troy Union Railroad Co.,
  
  25 N. Y., 526, it is ■assumed that there is no difference in kind or species between a railroad in a city street operated by horse power, and one operated by steam. Smith, J., in writing the opinion in that case, says that .such difference would present simply a question of degree in respect to the enlargement of the easement, and would not affect the principle. He also said that if the title to the Troy street were in that city as the fee in the streets in New York is in the city itself, the mayor and common council of Troy might perhaps have authorized such appropriation of the street without compensation to the adjoining owners. The case of
  
   Wager
  
  was followed in this court by that of
  
   The People
  
  v.
  
   Kerr,
  
  27 N. Y., 188. It was there held that the legislative permission to lay down street railroad tracks without change of grade in those streets of the city of New York where the city owned the fee was a sufficient justification for such action by the company and. that no compensation was necessary to be paid to the owner of the adjoining property. It
   
   *831
   
  was an appropriation to public use to provide for the construction of a street I'ailroad through a street without change of grade As this was a horse railroad, the decision of the court must be regarded in the light of that fact But still it is apparent that although a horse railroad was regarded as a different public use for a street from that which had heretofore obtained, it was yet such a public use as was not inconsistent with its continuous use as an open and a public street. There was no change of grade and no continuous and exclusive possession of the street, except in a limited sense, by the mere laying of the rails therein.
 

  I think there is no authority in this court which holds that there is any real difference between a railroad operated by horse power and one operated by the power of steam in the streets of the city. If the legislature can authorize the one, it can under the same circumstances authorize the other. I refer to railroads on the same grade as the street itself, and where the chief difference lies in the different motive powers which are used.
 

  In
  
   Craig
  
  v. Railroad, 39 N. Y., 404, it was held that the owner of a lot on a street, who owned the fee thereof subject only to the public easement for a street, was entitled to compensation for the new and additional burden upon the land so used as a street by the erection of even a horse railroad thereon. In this case J udge Miller said he saw no distinction in the application of the rule between cases of steam and cases of horse power.
 

  In
  
   Kellinger
  
  v.
  
   Forty-second Street R. R.
  
  Co., 50 N. Y., 206, it is held that one who did not own the fee of the street could not recover damages for inconvenience of access to his adjoining lands caused by the lawful erection of a street railroad through the street.
 

  By these last two decisions it is seen that to construct even a horse railroad in a city street is to place a new and additional burden upon the land, the right to do which does not exist by reason of the general right of passage through the street, but if the adjoining owner of land is not the owner of the fee in the street, and the railroad company has obtained the proper authority, he has no right to compensation for such added burden, nor to complain of such use so long as it. is not exclusive or excessive. The same reasoning applies, as we have seen, in the case of a steam surface railroad. Such a use of the streets would be an additional burden upon the land, and of course, if the adjoining owner had title in fee to the centre of the street, subject only to the public easement, he would have a right of action, as held by the
  
   Williams
  
  and other cases, while if he did not, no such right would exist in his favor merely because it was a steam instead of a horse railroad which was to be constructed.
 

  The authority of the law, and the consent of the city, would be enough to authorize the building of either, and the difference between the steam and the horse railroad would not be one of such a nature as to require or permit any difference in the decision of the two cases. If the use of either became unreasonable, excessive or exclusive, or such as not to leave the passage of the
   
   *832
   
  street substantially free and unobstructed, then such excessive, improper or unreasonable use would be enjoined, and the adjoining owner would be entitled to recover damages sustained by him therefrom, in his means of access, etc., to his land.
  
   Mahady
  
  v.
  
   Bushwick R. R. Co.,
  
  91 N. Y., 149. In'
  
   Washington Cemetery
  
  v.
  
   The Prospect Park, etc., R. R. Co.,
  
  68 N. Y., 591, at 593, Andrews, J., .assumes the right of the legislature to authorize the construction of a railroad on a street without exacting compensation from the ■corporation authorized to construct it, to the owners of adjoining land, provided such owners did not own the fee in the street. The statute in the case cited permitted the use of steam on some portion of this road, so that Judge Andrews’ remarks were not confined to horse railroads.
 

  Assuming that the plaintiff had no title whatever to the land in the street through which the defendant laid its rails, and ran its trains under legislative and municipal authority, I think it clear that prior to the decision of this court in the
  
   Story
  
  case, 90 N. Y., 122, he had no cause of action against the defendant based upon any alleged taking of the plaintiff’s property or easement by defendant. If its user of the street became excessive or exclusive, .and hence degenerated into a nuisance, the plaintiff had another remedy. The claim is now made that the
  
   Story
  
  case,
  
   supra,
  
  and those cases which followed, and are founded upon it, so far altered the law as to permit a recovery in all cases where the easement of the adjoining lot owner, through the building and operation of the road, is .injuriously affected by any deprivation or diminution of light, air of access to his lot, even though he do not own the fee to the center of the street; and where such injury occurs, it is claimed that the property of the owner in his easement of light, air or access has been taken to a greater or less extent, and compensation is guaranteed to him therefor by the constitution.
 

  The
  
   Story
  
  case did not intend to overrule or change the law in regard to steam surface railroads. The case embodied the application of what was regarded as well established principles of law to a new combination of facts, such facts amounting, as was determined, to an absolute and permanent obstruction in a portion of the public street, and in a total and exclusive use of such portion by the defendant, and such permanent obstruction and total and exclusive use, it was further held, amounted to a taking of some portion of the plaintiff’s easement in the street for the purpose of furnishing light, air and access to his adjoining lot This absolute and permanent obstruction of the street, this total and exclusive use of a portion thereof by the defendant, was accomplished by the erection of a structure for the elevated railroad of defendant, which structure is fully described in the case as reported. The structure, by the mere fact of its existence in the street, permanently and at every moment of the day, took away from the plaintiff some portion of the light and air which otherwise would have reached him, and in a degree very appreciable interfered with and took away from him his facility of access to his lot; such interference not being intermittent and caused by the temporary use of the street by the vehicles of the defendant while it
   
   *833
   
  was operating its road through the street, but caused by the iron posts and by the superstructure imposed thereon, and existing for every moment of the day and night.
 

  Such a permanent, total, exclusive and absolute appropriation of a portion of the street as this structure amounted to, was held to be illegal and wholly beyond any legitimate or lawful use of a public street. The taking of the property of the plaintiff in that ■case was held tq follow upon the permanent and exclusive nature of the appropriation by the defendant of the public street or of .some portion thereof. If that appropriation had been held legal, any merely consequential damage to the owner of the adjoining lot, not having any title to the street, would have furnished no ground for an action against the defendant. It was just at this point that the disagreement existed between the members of this court in the
  
   Story
  
  case.
 

  The judge who wrote one of the dissenting opinions did not think that the facts presented any different principle from that of any ordinary steam surface railroad operating its road through the streets of a city under the authority of the legislature and of the municipality, in a case where the adjoining lot owner did not own the fee in the street. The character of the structure, and all the facts incident thereto, were regarded by him as simply resulting in an additional burden upon the street, somewhat greater in degree, it is true, than a steam surface railroad, but still it was such a use of the street as the legislature might permit, and the legislature having in fact granted it such power, the defendant was not responsible for the incidental damage resulting to one whose property was not in fact taken within the meaning of the constitutional provision, and the defendant did him, therefore, no .actionable injury. The other dissenting judges were of the same opinion.
 

  A majority of the court, however, saw in the facts existing in that case what was regarded as a plain, palpable and permanent misappropriation of the street, or some portion of it, to the exclusive use of the defendant corporation, and as resulting from it the court held that there was a taking of property belonging to the plaintiff without compensation, which no legislature could authorize or legalize. But this taking, it cannot be too frequently or strongly asserted, resulted from the absolute, exclusive and permanent character of the appropriation of the street by the structure of the defendant. There is no hint in either of the prevailing opinions in the
  
   Story
  
  case of any intention to interfere with or overrule the prior adjudications in this state upon the subject now under discussion, as to steam surface railroads. In the
  
   Story
  
  case it was argued that no real distinction in principle existed between a steam surface and an elevated railroad resting on such a structure as was proved in that case. This court, however, made the distinction, and the two prevailing opinions are largely taken up with arguments going to show that the distinction was obvious, material and important, and was so real and tangible in fact as to call for a different judgment than would have been
   
   *834
   
  proper and appropriate in the ease of the ordinary steam surface railroad, such as the
  
   Drake
  
  case was.
 

  Judge Tracy, in the
  
   Story
  
  case, said that the conclusion reached in that case was based upon the character of the structure there involved, and that the language of Judge Wright in the
  
   Kerr
  
  case, supra, where he asserted, that the abutting owners had no property or estate in the land forming the bed of the street, in front of their premises, must be construed with reference to the point then considered. In another portion of his opinion, Judge Tracy said that no structure upon the street can be authorized which is inconsistent with the continued .use of the street as an open public street. " He also added that, whatever force the argument may have as applied to railroads built upon the surface of the street, without change of grade, and where, the road is so constructed that the public is not excluded from any part of the street, it has no force when applied to a structure like that authorized in the present case. This, he says, is an attempt to appropriate the street to a use essentially inconsistent with that of a public street, and hence illegal. He does not pretend that the ordinary steam railroad, laid on the same grade as the street, and not excluding others from its use, appropriates the street to a use essentially or at all inconsistent with that of a public street. The use may be an additional burden laid upon the street, but nevertheless it is such a use as is entirely consistent with its continued use as a public street.
 

  Judge Danforth, in his opinion, views the structure in much the same light. He cites the case of
  
   Corning
  
  v. Lowerre, 6 Johns. Ch., 439, where Chancellor Kent restrained the defendant by injunction from obstructing Yesey street, in Hew York city, by building a house thereon, and he says that the railroad structure designed by the defendant for the street opposite the plaintiff’s premises is liable to the same objection ; that is, it is as permanent in its character and as exclusive in its possession of that portion of the street as was the defendant’s building in the case cited. He further says that the street railway cases are in no respect in. conflict with the doctrine announced in his opinion. Other citations might be made from both opinions of those most learned and able judges, but enough has been shown to enable us to say, with entire correctness, that there was no intention, in deciding the
  
   Story
  
  case, to reverse or overrule the cases in regard to steam surface railroads which have been already cited. Those cases include just such a case as is the one at bar.
 

  Following the
  
   Story
  
  comes the
  
   Lahr
  
  Case, 104 N. Y., 268; 4 N. Y. State Rep., 340, and the principles decided in the former were reiterated in the latter case. It is difficult to see that any enlarged rule as to awarding damages in that class of cases has been definitely announced in the
  
   Lahr
  
  case. The general rule to be adopted was agreed upon by the parties and involved an award once for all. The particular damage which the defendant was liable for, growing out of the existence of the defendant’s structure, was held by three of the five members of the court then voting to embrace any injury or inconvenience resulting
   
   *835
   
  from the unlawful structure, or any such injury or inconvenience as was incidental to the use thereof. Two of the five members were in favor of a more restricted rule, and they agreed simply in the result, which affirmed the judgment of the court below.
 

  Then came the
  
   Drucker Case,
  
  106 N. Y., 157; 8 N. Y. State Rep., 599, and in it the principle was announced, as stated in the head note, that in awarding damages it was proper to prove and take into consideration as elements_ of damages the impairment ■of plaintiff’s easement of light caused by the road itself and the passage of trains, and the interference with the convenience of ■access caused by the drippings of oil and water. This was held as a fair result from a holding that the structure was an illegal one, and to the extent above described the court held the plaintiff •entitled to an award of damages. But the foundation for the recovery in all the cases above cited of any damages whatever lies in the fact of the illegality of the structure.
 

  Looking carefully over the cases involving the elevated railroads and their rights and liabilities, we cannot see that any new rule was adopted in any of those cases which would hold the defendant herein liable under the facts proved for the taking of any property or any portion of an easement belonging to the jffaintiff. On the contrary, we think the plaintiff’s case is still governed by the case of
  
   Drake
  
  and the other cases in this court which have already been- cited, and in which the principle decided in the
  
   Drake
  
  case has been assented to and affirmed. Upon such facts it has been held that there was no taking of any property or easement of an adjoining owner who had no title to any portion of the land upon which the street was laid out, where the company was authorized by law and licensed by the city to so use the street.
 

  Plaintiff’s counsel cites the case of
  
   Hussner
  
  v.
  
   Brooklyn City R. R. Co.,
  
  114 N. Y., 433; 23 N. Y. State Rep., 856, as bearing upon this question. We cannot see that it does. The use of steam on the portion of the road, spoken of in that case was not permitted, and it was therefore'unlawful, and for the damages caused to an abutting owner by reason of the nuisance the defendant was held liable.
 

  We are of the opinion that the plaintiff made out no legal ground for an action against defendant based upon any alleged taking of his property by the defendant. If there are any facts which go to show that the use of the street by the defendant is excessive, and in that way a nuisance, the recovery herein was not based upon any such liability, and it cannot be sustained on that ground now.
 

  The judgments of the special and general terms of the supreme court must be reversed and a new trial granted, with costs to abide the event
 

  All concur, except Ruger, Ch. J.; Andrews, J., not voting.
 
